     Case 2:08-cr-00231-EEF-SS           Document 1191         Filed 02/07/12     Page 1 of 4




                            UNITED STATES DISTRICT COURT

                           EASTERN DISTRICT OF LOUISIANA



UNITED STATES OF AMERICA                              *              CRIMINAL DOCKET

VERSUS                                                *              NO. 08-231

LEROY DABNEY, IV                                      *              SECTION "L"


                                     ORDER & REASONS

       Currently before the Court is Defendant’s “Motion for Documents at the Government’s

Expense” (R. Doc. 1149), which seeks designation to proceed in forma pauperis on appeal and

requests certain record documents at the Government’s expense. For the following reasons, IT

IS ORDERED that this Motion is DENIED.

I.     BACKGROUND & PRESENT MOTION

       On October 22, 2009, Defendant plead guilty to one-count of a four-count indictment for

conspiracy to distribute and possession of narcotics on October 22, 2009. Thereafter, on

December 2, 2009, Defendant was sentenced to 120 months imprisonment, representing the

statutory minimum sentence. (R. Doc. 890).

       In the present Motion, Defendant requests the right to proceed in forma pauperis on

appeal. Defendant also claims that in order to prepare for an anticipated appeal under 28 U.S.C.

§ 2255, the Court should supply the Defendant with various documents contained in the record.

Specifically, Defendant requests a copy of the (1) Defendant’s Motion for Consideration for

Time Already Served and Spent in House Incarceration, (2) new sentencing modifications and

statutes, (3) indictment, (4) grand jury indictment transcripts, (5) oath of testimony and plea

                                                -1-
      Case 2:08-cr-00231-EEF-SS           Document 1191         Filed 02/07/12      Page 2 of 4




agreement transcripts, (6) transcripts of the sentencing procedure, (7) factual basis, (8) all

discoveries and motions, (9) Defendant’s record excerpts, and (10) bill of information.

Defendant seeks to have the Government pay for the cost of providing these documents .

II.     LAW & ANALYSIS

        A.     Right to Proceed in Forma Pauperis

        Plaintiff’s Motion first requests permission to “proceed in forma pauperis on appeal.”

Pursuant to Federal Rule of Appellate Procedure 24(a)(3), a defendant

        who was determined to be financially unable to obtain an adequate defense in a criminal
        case, may proceed on appeal in forma pauperis without further authorization, unless:
               (A) the district court–before or after the notice of appeal is filed–certifies that the
               appeal is not taken in good faith or finds that the party is not otherwise entitled to
               proceed in forma pauperis and states in writing its reasons for the certification or
               finding; or
               (B) a statute provides otherwise.

Here, the Defendant was appointed an attorney free-of-charge when it was determined he was

unable to financially retain one for himself. See (R. Doc. 211). However, it is not clear from

Defendant’s Motion the grounds for his appeal; thus, because the Court is unable to determine

whether his anticipated appeal is “in good faith” it cannot certify at this time that Defendant is

entitled to proceed with his appeal in forma pauperis. See United States v. Stokes, 235 F.3d 1341

(5th Cir. 2000)(“Furthermore, because there was no action or appeal pending, the district court

could not have granted his motion to proceed [in forma pauperis].”).

        B.     Right to Documents & Transcripts

        Defendant indicates that he is planning to both “appeal” the judgment and file a motion

pursuant to 28 U.S.C. § 2255, and he claims that he needs certain enumerated record documents,

discovery, and transcripts in order to do so. Defendant seeks to impose the costs of obtaining


                                                  -2-
     Case 2:08-cr-00231-EEF-SS            Document 1191          Filed 02/07/12      Page 3 of 4




these documents upon the Government.

        If the Defendant is subsequently successful in demonstrating his right to proceed in forma

pauperis, he may be entitled to certain documents at the Government’s expense, depending the

relief he requests. However, he is “not entitled to production of a transcript and copies of all

court records regarding his case at government expense in order to search for possible defects.”

Stokes, 235 F.3d at *1; Colbert v. Beto, 439 F.2d 1130 (5th Cir. 1971).

        An indigent defendant has a constitutional right to a free copy of his sentencing or trial

transcript if it is necessary to a decision on the merits of his appeal. See Griffin v. Illinois, 351

U.S. 12, 19-20 (19656); Sweezy v. Ward, 208 F.3d 227 (10th Cir. 2000); Tran v. Epstein, 1995

WL 450972 (E.D.N.Y. July 19, 1995). As noted, Defendant has not filed a notice of appeal; nor

has he stated a basis for an appeal.

        However, there is no constitutional right to a free transcript in post-conviction

proceedings. See 28 U.S.C. § 753(f); United States v. MacCollom, 426 U.S. 317 (1976).

Defendant would have to file a separate motion in his § 2255 proceeding demonstrating his

claims are “not frivolous and that the transcript is needed to decide the issue presented by the

suit.” Id.

III. CONCLUSION

        For the foregoing reasons, IT IS ORDERED that the Defendant’s Motion for Documents

at the Government’s Expense is hereby DENIED.



        New Orleans, Louisiana this 7th day of February 2012.

                                                ____________________
                                                U.S. District Judge

                                                  -3-
    Case 2:08-cr-00231-EEF-SS    Document 1191   Filed 02/07/12   Page 4 of 4




Clerk to serve:

Leroy Dabney, IV
Reg. No. 31040-034
1000 Airbase Road
P.O. Box 2099
Pollock, Louisiana 71467

Fifth Circuit Court of Appeals




                                      -4-
